                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                           Plaintiff,        Case No. 3:17-cr-00161-SLG-SAO

                      v.                     Case No. 3:21-cr-00119-SLG-SAO

    THOMAS LEE CLEVELAND-
    MCMICHAEL,

                           Defendant.


              ORDER RE FINAL REPORT AND RECOMMENDATION OF THE
                  MAGISTRATE JUDGE UPON A PLEA OF GUILTY

          A plea agreement was filed in this case at Docket 147 in Case No. 3:17-cr-

00161-SLG-SAO and at Docket 116 in Case No. 3:21-cr-00119-SLG-SAO.

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, this matter was

referred to the Honorable Magistrate Judge Scott A. Oravec by the District Court,

with the written and oral consents of Defendant, counsel for Defendant, and

counsel for the United States. A proposed change of plea hearing was held before

the magistrate judge at which Defendant admitted to Violations 1-5 and 8-10 of the

Superseding Petition to Revoke Supervised Release 1 and entered a guilty plea to

Count 1 of the Indictment, 2 Felon in Possession of a Firearm and Ammunition,




1
    Dkt. 85.
2
    Dkt. 2.




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which is a violation of 18 U.S.C. § 922(g)(1) and 924(a)(2).

      Judge Oravec issued a Final Report and Recommendation at Docket 120,

in which he recommended that the District Court accept Defendant’s admission to

Violations 1-5 and 8-10 of the Superseding Petition to Revoke Supervised Release

and Defendant’s plea of guilty to Count 1 of the Indictment. No objections to the

Final Report and Recommendation have been filed.

      The matter is now before this Court pursuant to 28 U.S.C. § 636(b)(1). The

Court has reviewed the Final Report and Defendant’s plea of guilty to Count 1 of

the Indictment. Defendant is adjudged GUILTY of Count 1 of the Indictment. The

Court DEFERS acceptance of Defendant’s admissions to the violations in the

petition until August 29, 2023. A combined Imposition of Sentence and Disposition

hearing is scheduled for August 29, 2023, at 10:00 a.m. before District Judge

Sharon L. Gleason in Anchorage Courtroom 2.

      DATED this 9th day of June, 2023, at Anchorage, Alaska.

                                                /s/ Sharon L. Gleason
                                                UNITED STATES DISTRICT JUDGE




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